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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:11CR3087
                                       )
            V.                         )
                                       )
GUY E. ALLEN, CHRISTOPHER              )                   ORDER
MALLETT,                               )
                                       )
                  Defendants.          )
                                       )


       Today, I conferred with counsel by phone about trial and also Judge Zwart’s
recent Findings and Recommendation regarding speedy trial issues. With counsel’s
agreement, and at their request,

      IT IS ORDERED that:

      1.    Counsel for Mr. Allen gives oral notice of his objection to the Findings
            and Recommendation (filing no. 173). No further objection is necessary.

      2.    Due to the complexity of the issues discussed in the Findings and
            Recommendation, counsel for Mr. Allen will have until Tuesday,
            December 18, 2012 to submit his brief in support of the objection and in
            opposition to the Findings and Recommendation and counsel for the
            government will have until Tuesday, January 2, 2013 to submit his brief
            in opposition to the objection and in support of the Findings and
            Recommendation. The thirty day time limit under 18 U.S.C. §
            3161(h)(1)(H) for considering the defendant’s objection to the Findings
            and Recommendation shall start to run on January 3, 2013.
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      3.     If the Findings and Recommendations are adopted, and the objection
             overruled, the jury trial in this case, scheduled for nine days, shall
             commence on Tuesday, January 22, 2013.1

      4.     Trial in this case is set as the number one case on Tuesday, January 22,
             2013. Judge Zwart and my judicial assistant, Kris Leininger, are
             requested to schedule accordingly. The Clerk shall provide Judge Zwart
             with a copy of this order.

      DATED this 5th day of December, 2012.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge




      1
       Counsel are advised that Monday January 21, 2013, is a federal holiday and
therefore trial could not be set on that date. Furthermore, counsel are advised that the
decision on the Findings and Recommendation may come shortly before trial and I
expect counsel to be prepared to proceed to trial, if necessary, despite short notice.
                                           2
